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 1                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
 2

 3     United States of America,       ) Criminal
                                       ) No. 17-201
 4                        Plaintiff,   )
                                       ) Status Conference
 5     vs.                             )
                                       ) Washington, DC
 6     RICHARD W. GATES, III,          ) January 16, 2018
                                       ) Time: 2:00 p.m.
 7                        Defendant.   )
                                       )
 8     ___________________________________________________________

 9                   TRANSCRIPT OF STATUS CONFERENCE
                                HELD BEFORE
10                THE HONORABLE JUDGE AMY BERMAN JACKSON
                       UNITED STATES DISTRICT JUDGE
11     ____________________________________________________________

12                            A P P E A R A N C E S

13     FOR THE PLAINTIFF:          GREG D. ANDRES
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24

25     ALSO PRESENT:               Shay Holman, Pretrial Officer
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 1     Court Reporter:             Janice E. Dickman, RMR, CRR
                                   Official Court Reporter
 2                                 United States Courthouse, Room 6523
                                   333 Constitution Avenue, NW
 3                                 Washington, DC 20001

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 1                THE COURTROOM DEPUTY:      Your Honor, recalling

 2     criminal case number 17-201-2, the United States of America

 3     v. Richard W. Gates, III.      Mr. Gates is present in the

 4     courtroom, Your Honor.      The pretrial services agency officer

 5     present for these proceedings is Miss Holman.          Representing

 6     the government we have Mr. Andres and representing Mr. Gates

 7     we have both Mr. Wu and Mr. Mack.

 8                THE COURT:    All right.     We're just here for a very

 9     brief matter.    I have now entered the order granting and

10     denying in part Mr. Gates's pending motion to modify his

11     conditions of release.      And he will be released from home

12     confinement subject to having posted security and having a

13     surety step forward and pledging his assets, and subject to

14     a series of conditions that are going to be set out in

15     today's order.

16                To be released on those conditions he has to sign

17     a slip from the pretrial services agency indicating that he

18     understands those conditions and agrees to abide by them and

19     he understands the consequences of failing to abide by them,

20     which means you could possibly be brought back and I'll be

21     asked to revoke the release that I gave you.          But that's the

22     only reason we're here.      And so, I think we can move forward

23     because my order has already been docketed, but we just need

24     Mr. Gates's signature.

25                MR. WU:    Your Honor, there's a clarification.
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 1                 THE COURT:   Yes.

 2                 MR. WU:   In paragraph 3, when we refer to the

 3     geographic area of Richmond, Virginia and then we give some

 4     counties as examples, one of the counties which is not

 5     enumerated is Goochland, which touches the Richmond County,

 6     as well as the Chesterfield County.        Some of the sports

 7     facilities are there.      And normally that's something we

 8     would just take up with pretrial services, but if the Court

 9     prefers, we can move to make an amendment to that, if Your

10     Honor wants all of the particular names of counties

11     enumerated.    Like within the courthouse, for the Richmond

12     Federal Courthouse, that's one of the counties that's

13     included for the courthouse.

14                 THE COURT:   That's not what they told me.

15                 MR. WU:   Oh, that's not?

16                 THE COURT:   I specifically called and said, What

17     does it mean to you, in Richmond, if you say the geographic

18     area of Richmond, Virginia?       And they gave me those

19     counties.   If there's another county that is included in

20     that, I'm happy to include it within that.

21                 MR. WU:   Okay.

22                 THE COURT:   What is difficult for pretrial

23     services is adopting a new, just-for-this-case set of

24     boundaries.

25                 MR. WU:   Yes, I understand.
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 1                 THE COURT:   And so I could do the entire Eastern

 2     District of Virginia, but that extends from Alexandria down

 3     to Richmond and that didn't really seem to accomplish

 4     anything.

 5                 MR. WU:   Correct.

 6                 THE COURT:   So I thought I did what that Court

 7     always does.    So if it turns out -- and I also asked are the

 8     athletic events he's been going to within those counties? and

 9     they said yes.    So, and I put all that in writing --

10                 MR. WU:   Yes, I understand.

11                 THE COURT:   -- before today.

12                 MR. WU:   Let us run it down, Your Honor.          If there

13     appears to be an issue, we'll figure it out.

14                 THE COURT:   The inability to come to closure on

15     this is frustrating.

16                 MR. WU:   Yes.

17                 THE COURT:   And --

18                 MR. WU:   That's fine.    And we'll run it down and

19     if there's something that needs to be bought to your

20     attention, we'll do so.

21                 THE COURT:   Okay.    As far as I'm concerned, I

22     don't need a weekly motion with Mr. Gates's activities

23     because Mr. Gates is permitted to come and go within the

24     geographic area of Richmond on his own behest now.

25                 MR. WU:   Yes, Your Honor.
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 1                 THE COURT:    All right.

 2                 THE COURTROOM DEPUTY:      Mr. Gates, would you rise

 3     and please raise your right hand, sir.

 4                 Do you solemnly affirm and truly declare that you

 5     will follow the conditions of your release as set forth by

 6     the Court, and this you do under the pain and penalty of

 7     perjury.

 8                 THE DEFENDANT:    I do.

 9                 THE COURT:    All right.       Now you can go back to

10     Richmond.   Thank you very much.

11                 MR. ANDRES:    Thank you, Judge.

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 2                  CERTIFICATE OF OFFICIAL COURT REPORTER

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 5               I, JANICE DICKMAN, do hereby certify that the above

 6     and foregoing constitutes a true and accurate transcript of

 7     my stenograph notes and is a full, true and complete

 8     transcript of the proceedings to the best of my ability.

 9                           Dated this 23rd day of January, 2018.

10

11

12                                 /s/________________________

13                                 Janice E. Dickman, CRR, RMR
                                   Official Court Reporter
14                                 Room 6523
                                   333 Constitution Avenue NW
15                                 Washington, D.C. 20001

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